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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                   Chapter 11
In re:
                                                                   Case No.: 21-22108 (RDD)
96 WYTHE ACQUISITION LLC,

                                 Debtor.



                         DECLARATION OF MICHAEL LICHTENSTEIN

         I, Michael Lichtenstein, hereby declare under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the statements below are true and correct to the best of my knowledge:

         1.       I am a principal of the Debtor in this Chapter 11 case and a principal of the non-

debtor third parties (the “Movants”) who are contemporaneously herewith filing the Motion of

Certain Non-Debtor Third Parties to Quash in Part and Modify in Part Benefit Street Partners

Realty Operating Partnership, L.P.’s Subpoenas Directed to and Served Upon JPMorgan Chase

Bank, N.A. and Bank of America, N.A. (the “Motion”). I am authorized to make this Declaration

on behalf of the Movants.

         2.       I have read the Movants’ Motion. The factual statements contained in the Motion

are true and correct to the best of my knowledge based on my personal knowledge of the Debtor’s

and the Movants’ respective financial transactions and business operations and upon information

learned from my review of relevant documents.

         Executed on the 25th day of April, 2022.

                                                                /s/ Michael Lichtenstein
                                                                Michael Lichtenstein




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